

Wells Fargo Bank, N.A. v Graffioli (2018 NY Slip Op 08710)





Wells Fargo Bank, N.A. v Graffioli


2018 NY Slip Op 08710


Decided on December 19, 2018


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 19, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

JOHN M. LEVENTHAL, J.P.
CHERYL E. CHAMBERS
LEONARD B. AUSTIN
JEFFREY A. COHEN, JJ.


2016-02367
2016-02368
 (Index No. 8837/14)

[*1]Wells Fargo Bank, N.A., etc., respondent,
vDominga Graffioli, et al., appellants, et al., defendants.


David A. Bythewood, Mineola, NY, for appellants.
Eckert Seamans Cherin &amp; Mellott LLC, White Plains, NY (David V. Mignardi of counsel), for respondent.



DECISION &amp; ORDER
In an action to foreclose a mortgage, the defendants Dominga Graffioli and Victor R. Gonzalez appeal from (1) an order of the Supreme Court, Nassau County (Thomas A. Adams, J.), entered December 10, 2015, and (2) an order of the same court entered December 11, 2015. The orders, insofar as appealed from, granted those branches of the plaintiff's motion which were for summary judgment on the complaint insofar as asserted against those defendants and for an order of reference and denied those defendants' cross motion for summary judgment dismissing the complaint insofar as asserted against them.
ORDERED that the appeals are dismissed, without costs or disbursements.
The appeal from the order entered December 10, 2015, must be dismissed because that order was superseded by the order entered December 11, 2015. The appeal from the order entered December 11, 2015, must be dismissed because the right of direct appeal therefrom terminated with the entry of an order and judgment of foreclosure and sale (one paper) in the action (see Matter of Aho, 39 NY2d 241, 248). The issues raised on the appeal from the order entered
December 11, 2015, are brought up for review and have been considered on the appeal from the order and judgment of foreclosure and sale (see Wells Fargo Bank, N.A. v Graffioli, ___ AD3d ___ [Appellate Division Docket No. 2018-00820; decided herewith]).
LEVENTHAL, J.P., CHAMBERS, AUSTIN and COHEN, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








